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AO 245B (SCDC Rev.10/20) Judgment in a Criminal Case Sheet 1



                              UNITED STATES DISTRICT COURT
                                                    District of South Carolina

UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE

         vs.
                                                                          Case Number: 2:18CR00782-001
                                                                          USM Number: 33700-171
QUINTON ALLEN MANIGAULT
                                                                          Defendant’s Attorney: Francis J Cornely


THE DEFENDANT:

☒         pleaded guilty to count 1 of the indictment.
☐         pleaded nolo contendere to count(s) _____________which was accepted by the court.
☐         was found guilty on counts _____________ after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section                                     Nature of Offense                         Offense Ended              Count
 18 U.S.C. § 2113(a)                                 Please see Information                    3/27/2018                  1




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐      The defendant has been found not guilty on count(s) _____________.
☒      All remaining counts are dismissed on the motion of the United States.
☐      Forfeiture provision is hereby dismissed on motion of the United States Attorney.

       It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
any material changes in economic circumstances.

                                                                                          October 19, 2021
                                                                                         Date of Imposition of Judgment


                                                                                         s/ Bruce Howe Hendricks
                                                                                               Signature of Judge

                                                                              Bruce H. Hendricks, United States District Judge
                                                                                            Name and Title of Judge


                                                                                             October 25, 2021
                                                                                                     Date
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Sheet 2 - Imprisonment                                                                                            Page 2 of 6
DEFENDANT: QUINTON ALLEN MANIGAULT
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                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of 180 months. The defendant shall pay the mandatory $100 special assessment fee and $8,391 in
restitution, both due beginning immediately.


☒      The court makes the following recommendations to the Bureau of Prisons:
The Court requests that the defendant be designated to the closest possible institution to the defendant’s home in
South Carolina to facilitate visitation.

☒        The defendant is remanded to the custody of the United States Marshal.

☐        The defendant shall surrender to the United States Marshal for this district:
         ☐ at                       ☐ a.m. ☐ p.m. on                                                          .
         ☐ as notified by the United States Marshal.

☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
         ☐ before 2 p.m. on                                      .
         ☐ as notified by the United States Marshal.
         ☐ as notified by the Probation or Pretrial Services Office.

                                                            RETURN
I have executed this Judgment as follows:


Defendant delivered on _______________________________ to ____________________________________
at                                                             , with a certified copy of this judgment.




                                                                             UNITED STATES MARSHAL

                                                                        By
                                                                             DEPUTY UNITED STATES MARSHAL

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Sheet 3- Supervised Release                                                                             Page 3 of 6
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                                         SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years. While on
supervised release, the defendant shall comply with the mandatory and standard conditions of supervision
outlined in 18 U.S.C. § 3583(d) and USSG §5D1.3(c). The defendant shall also comply with the following
special condition(s): 1. You must pay any remaining restitution at a rate of no less than $50 per month,
beginning within 60 days of release. The payments shall be made payable to “Clerk, U.S. District Court” and
mailed to PO Box 835, Charleston, SC 29402. Interest on any restitution ordered as to this defendant is
waived. Payments shall be adjusted accordingly, based upon the defendant’s ability to pay as determined by
the Court. [Justified by victim losses and restitution owed.]. 2. You must not incur new credit charges, or open
additional lines of credit without the approval of the probation officer. [Justified by restitution owed.] 3. You
must provide the probation officer with access to any requested financial information and authorize the
release of any financial information. The probation office may share financial information with the U.S.
Attorney's Office. [Justified by restitution owed.] 4. You must submit to substance abuse testing to determine
if you have used a prohibited substance. You must contribute to the cost of such program not to exceed the
amount determined reasonable by the Court approved U.S. Probation Office's "Sliding Scale for Services," and
you will cooperate in securing any applicable third-party payment, such as insurance or Medicaid. [Justified by
the defendant’s criminal history and substance abuse history.]



                                      MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.
         ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a
         low risk of future substance abuse. (check if applicable)
4. ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute
       authorizing a sentence of restitution. (check if applicable)
5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34
       U.S.C. §20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex
       offender registration agency in the location where you reside, work, are a student, or were convicted of a
       qualifying offense. (check if applicable)
7. ☐ You must participate in an approved program of domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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Sheet 3A- Supervised Release                                                                                          Page 4 of 6
DEFENDANT: QUINTON ALLEN MANIGAULT
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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72
         hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
         office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer
         about how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
         permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about
         your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
         before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you
         must notify the probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
         probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
         view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the
         probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such
         as your position or job responsibilities), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must
         notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
         has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
         the permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
         anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
         person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
         informant without first getting the permission of the court.
12.      If the probation officer determines, based on your criminal record, personal history or characteristics, that you pose a
         risk to another person (including an organization), the probation officer, with the prior approval of the Court, may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of
this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at www.uscourts.gov.




Defendant’s Signature _______________________________________________________ Date __________________________
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Sheet 5 – Criminal Monetary Penalties                                                                                    Page 5 of 6
DEFENDANT: QUINTON ALLEN MANIGAULT
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                                             CRIMINAL MONETARY PENALTIES
The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment               Restitution       Fine                 AVAA Assessment*         JVTA Assessment**
 TOTALS             $100.00                  $8391.00          $                    $                        $

☐ The determination of restitution is deferred until _____________. An Amended Judgment in a Criminal
  Case(AO245C) will be entered after such determination.

☒ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
    specified otherwise in the priority order or percentage payment column below. However, pursuant to
    18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Name of Payee                       Total Loss***                  Restitution Ordered               Priority or Percentage

 Pinnacle Bank                       $8391.00                       $8391.00                         100




    TOTALS                         $8391.00                        $8391.00

☐     Restitution amount ordered pursuant to plea agreement           $

☐     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options
      on Sheet 5 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         ☒        The interest requirement is waived for the ☐ fine ☒restitution.
         ☐        The interest requirement for the ☐ fine ☐ restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B (SCDC Rev. 10/20) Judgment in a Criminal Case
Sheet 6-Schedule of Payments                                                                                               Page 6 of 6
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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A     ☒     Lump sum payment of both $100.00 special assessment + $8,391.00 restitution due immediately, balance due
            ☐ not later than                                             , or
            ☒ in accordance with           ☐ C,         ☒ D, or   ☐ E, or ☐ F below: or
B     ☐     Payment to begin immediately (may be combined with                  ☐ C,   ☐ D, or    ☐ F below); or

C     ☐     Payment in equal                   (weekly, monthly, quarterly) installments of $                    over a period of
            (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     ☒      Payment in equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a
            term of supervision; or
E     ☐     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
            that time; or
F     ☐     Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐     Joint and Several

 Case Number                                              Total Amount             Joint and Several        Corresponding Payee,
 Defendant and Co-Defendant Names                                                       Amount                  if appropriate
 (including defendant number)




☐     The defendant shall pay the cost of prosecution.
☐     The defendant shall pay the following court cost(s):
☐     The defendant shall forfeit the defendant’s interest in the following property to the United States:

As directed in the Preliminary Order of Forfeiture, filed _________ and the said order is incorporated herein as part of this
judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.
